                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION


   BRENNAN M. GILMORE,                                     CASE NO.: 3:18-cv-00017-NKM-JCH

             Plaintiff

             v.

   ALEXANDER JONES, et al.,                                ANSWER      TO      AMENDED
                                                           COMPLAINT (DKT. 29) FILED BY
             Defendants                                    DEFENDANT STRANAHAN



            NOW COMES Defendant Stranahan, by his counsel Aaron J. Walker, Esq., in the above-

  styled case for the sole purpose of filing this Answer, without waiving any rights of jurisdiction,

  notice, process, joinder, or venue. In Answer to the First Amended Complaint (“FAC”) he states

  the following.

            All allegations are to be considered denied unless specifically admitted to.

            Several paragraphs are unnumbered; this Answer will identify such paragraphs by the page

  on which these paragraphs start (even if they end on a different page) and the first few words of

  that paragraph.

            The following terms and abbreviations are used throughout this Answer:

            “WNI” means Words-N-Ideas, LLC

            “WNI Defendants” means WNI, Wilburn, and Hickford, collectively.

            “Third party” and “third parties” refers to persons other than Mr. Stranahan, including

  current and former co-defendants and individuals not named as defendants, unless otherwise

  stated.




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                                GENERALLY APPLICABLE DENIALS

             Because of the length and complexity of the FAC, there is a danger that Mr. Stranahan

  might, by inadvertency, appear to admit to something he in reality denies. Therefore, Mr.

  Stranahan makes the following blanket denials, which supersedes any inadvertent admissions in

  this document:

                   Mr. Stranahan denies making any false or defamatory statement of or concerning

  the Plaintiff.

                   Mr. Stranahan denies making any false or defamatory implication of or concerning

  the Plaintiff.

                   Mr. Stranahan denies any legal responsibility for the wrongful conduct of any third

  party or parties.

                   Mr. Stranahan denies inciting violence or wrongful conduct of any third party or

  parties.

             If any statement in the remainder of this Answer appears to contradict those generally

  applicable denials, these generally applicable denials control.



                     RESPONSES TO INITIAL UNNUMBERED PARAGRAPHS

             In the first unnumbered paragraph on page 1, which starts with the words “NOW

  COMES…” This is not a statement that requires a response.

             In the second unnumbered paragraph on page 1, which starts with the words

  “Brennan Gilmore works…” Mr. Stranahan denies the following portion of this paragraph to

  the extent that they are allegations against him:

             Supporters of the alt-right and the “Unite the Right” rally, including the Defendants,
             created a new identity for Mr. Gilmore—the organizer and orchestrator of Fields’

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         attack and a traitor to the United States. Defendants’ lies about Mr. Gilmore quickly
         mobilized their armies of followers to launch a campaign of harassment and threats
         against Mr. Gilmore that continue to this day.

  To the extent that this passage makes accusations against third parties Mr. Stranahan lacks

  knowledge or information sufficient to form a belief about the truth of the allegations sufficient to

  either admit or deny them, and he similarly lacks knowledge or information sufficient to form a

  belief about the truth of the remaining allegations in this paragraph sufficient to either admit or

  deny them.

         In the first unnumbered paragraph on page 2, which starts with the words

  “Supporters of the…” To the extent that these allegations are against Mr. Stranahan, they are

  denied, and to the extent that this paragraph makes accusations against third parties, Mr. Stranahan

  lacks knowledge or information sufficient to form a belief about the truth of the allegations

  sufficient to either admit or deny them.

         In the second unnumbered paragraph on page 2, which starts with the words

  “Defendants thrive by…” Mr. Stranahan lacks knowledge or information sufficient to form a

  belief about the truth of the following portion of this paragraph sufficient to either admit or deny

  the allegations contained therein:

         A list of Mr. Gilmore and his parents’ known addresses was posted online,
         prompting local law enforcement to patrol his parents’ home. Mr. Gilmore suffered
         from an overwhelming volume of hate mail and death threats, hacking attempts,
         and even in-person harassment on the streets of Charlottesville.

  The remaining allegations in that paragraph are denied, to the extent that these allegations are

  against Mr. Stranahan. To the extent that the remaining allegations in this paragraph are against

  third parties Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations sufficient to either admit or deny them.




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         In the first unnumbered paragraph on page 3, which starts with the words “To this

  day…” To the extent that these allegations are against Mr. Stranahan, they are denied. To the

  extent that these allegations are against third parties, Mr. Stranahan lacks knowledge or

  information sufficient to form a belief about the truth of the allegations sufficient to either admit

  or deny them.

         In the second unnumbered paragraph on page 3, which starts with the words “Fact-

  based journalism…” Much of the paragraph contains statements of philosophy and law to which

  no response is necessary. To the extent that the paragraph contains allegations against Mr.

  Stranahan, they are denied. To the extent that it contains allegations against third parties, Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  allegations sufficient to either admit or deny them.

         In the third unnumbered paragraph on page 3, which starts with the words “Brennan

  Gilmore told…” With respect to the claim the Plaintiff told the truth, Mr. Stranahan lacks

  knowledge or information sufficient to form a belief about the truth of that allegation sufficient to

  either admit or deny it. To the extent that the remaining allegations in this paragraph apply to Mr.

  Stranahan, they are denied. Mr. Stranahan lacks knowledge or information sufficient to form a

  belief about the truth of the remaining allegations in this paragraph sufficient to either admit or

  deny them.

                         RESPONSES TO NUMBERED PARAGRAPHS

         1.       Mr. Stranahan admits that this case arises under Virginia law. To the extent that

  the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied. Mr. Stranahan

  lacks knowledge or information sufficient to form a belief about the truth of the remaining

  allegations in this paragraph sufficient to either admit or deny them.



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         2.       This is not a statement that requires a response.

         3.       To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.

         4.       Mr. Stranahan admits he is subject to personal jurisdiction in Virginia. To the

  extent that the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied.

  Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.

         5.       To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.

         6.       To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.

         7.       Mr. Stranahan admits he has engaged in a persistent course of conduct in Virginia

  as he is domiciled in that state. To the extent that the remaining allegations in this paragraph apply

  to Mr. Stranahan, they are denied. Mr. Stranahan lacks knowledge or information sufficient to

  form a belief about the truth of the remaining allegations in this paragraph sufficient to either admit

  or deny them.

         8.       To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.




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         9.      Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         10.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         11.     Mr. Stranahan admits he covered events related to the “Unite the Right” rally more

  than once and covered it as a journalistic endeavor. He denies that he has “gone further to

  purposefully avail [himself] of Virginia, where [he] carried out a plan to report on and cover

  prominently the ‘Unite the Right’ rally in Virginia.”         Mr. Stranahan lacks knowledge or

  information sufficient to form a belief about the truth of the remaining allegations in this paragraph

  sufficient to either admit or deny them.

         12.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.

         13.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         14.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         15.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         16.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         17.     Mr. Stranahan denies that he is domiciled in Texas; denies that as a legally blind

  man, he has a Texas driver’s license; and denies that he is actively registered to vote in Texas. He



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  admits that he was featured in a video that was posted by InfoWars on August 15, 2017, he admits

  that he is a former employee of the company that owns the website Breitbart News. To the extent

  that the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.

         18.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         19.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         20.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         21.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them, except that he

  admits that Allen West represented the Florida’s 22nd congressional district in the United States

  House of Representatives.

         22.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         23.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         24.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         25.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.



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         26.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         27.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         28.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         29.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         30.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         31.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         32.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         33.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         34.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         35.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         36.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

  Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

  remaining allegations in this paragraph sufficient to either admit or deny them.



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         37.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         38.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         39.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         40.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         41.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         42.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         43.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         44.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the allegations in this paragraph sufficient to either admit or deny them.

         45.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the factual allegations in this paragraph sufficient to either admit or deny them.

         46.     Mr. Stranahan lack knowledge or information sufficient to form a belief about the

  truth of the factual allegations in this paragraph sufficient to either admit or deny them.

         47.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

  truth of the factual allegations in this paragraph sufficient to either admit or deny them.




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          48.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          49.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          50.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          51.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          52.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          53.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          54.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          55.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          56.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          57.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          58.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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          59.     Mr. Stranahan denies the allegation that George Soros is a philanthropist. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          60.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          61.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          62.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          63.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          64.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          65.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          66.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          67.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          68.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          69.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



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          70.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          71.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          72.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          73.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          74.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          75.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          76.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          77.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          78.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          79.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          80.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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          81.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          82.     Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          83.     The statement “Because the video goes on to describe Mr. Gilmore and his alleged

   connection to Ukraine and Soros, the factual allegation that he is one of the ‘same players [. . .]

   working behind the scenes to oust President Trump.’” is a sentence fragment, and therefore it

   cannot be responded to. The following line “This is false” is rendered vague by the fragmentary

   nature of the prior sentence. To the extent that this paragraph describes the contents of a video-

   recorded interview, the video speaks for itself and Mr. Stranahan denies the Plaintiff’s

   characterization of it. Mr. Stranahan lacks knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          84.     To the extent that this paragraph describes the contents of a video-recorded

   interview, the video speaks for itself and Mr. Stranahan denies the Plaintiff’s characterization of

   it. To the extent that the remaining allegations in this paragraph apply to Mr. Stranahan, they are

   denied. Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth

   of the remaining allegations in this paragraph sufficient to either admit or deny them.

          85.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          86.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.



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           87.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

           88.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

           89.    Mr. Stranahan admits that he believes that most people understand the clear

   meaning of his words and body language. To the extent that this paragraph describes the contents

   of a video-recorded interview, the video speaks for itself and Mr. Stranahan denies the Plaintiff’s

   characterization of it. Mr. Stranahan lacks knowledge or information sufficient to form a belief

   about the truth of the remaining allegations in this paragraph sufficient to either admit or deny

   them.

           90.    Mr. Stranahan admits he is a fact-based journalist and has told others that he is one.

   To the extent that this paragraph describes the contents of a video-recorded interview, the video

   speaks for itself and Mr. Stranahan denies the Plaintiff’s characterization of it. Mr. Stranahan

   lacks knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

           91.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

           92.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

           93.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.



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          94.     Mr. Stranahan admits that he never contacted Mr. Gilmore or any of the other

   individuals or organizations named in a video for comment or confirmation of the facts he alleged.

   With respect to the remaining allegations in this paragraph against Mr. Stranahan, they are denied.

   With respect to the allegations against third parties, Mr. Stranahan lacks knowledge or information

   sufficient to form a belief about the truth of the allegations in this paragraph sufficient to either

   admit or deny them.

          95.     To the extent that this paragraph describes the contents of a video-recorded

   interview, the video speaks for itself and Mr. Stranahan denies the Plaintiff’s characterization of

   it. To the extent that the remaining allegations in this paragraph concern Mr. Stranahan, they are

   denied. To the extent that this paragraph makes allegations about third parties, Mr. Stranahan

   lacks knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          96.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          97.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          98.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.




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          99.     To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          100.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          101.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          102.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          103.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          104.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          105.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          106.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          107.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          108.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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          109.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          110.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          111.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          112.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          113.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          114.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          115.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          116.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          117.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          118.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          119.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




                                                    17

Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 17 of 37 Pageid#: 2204
          120.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          121.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          122.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          123.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          124.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          125.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          126.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          127.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          128.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          129.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          130.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 18 of 37 Pageid#: 2205
          131.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          132.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          133.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          134.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          135.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          136.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          137.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          138.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          139.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          140.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          141.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 19 of 37 Pageid#: 2206
          142.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          143.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          144.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          145.    Mr. Stranahan denies the following statement, to the extent it is an accusation

   against him: “Their paranoid fantasies have no basis whatsoever in fact and are demonstrably

   false[.]” Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth

   of the remaining allegations in this paragraph sufficient to either admit or deny them.

          146.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          147.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          148.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          149.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          150.    Mr. Stranahan denies that he is the legal cause of any misconduct by any third party.

   This denial applies every time the allegation is repeated. Mr. Stranahan denies the remaining

   allegations in this paragraph.



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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 20 of 37 Pageid#: 2207
          151.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          152.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          153.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          154.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          155.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          156.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          157.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          158.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          159.    Mr. Stranahan lacks denies that any defamation, let alone a defamatory campaign,

   occurred. Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth

   of the remaining allegations in this paragraph sufficient to either admit or deny them.

          160.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 21 of 37 Pageid#: 2208
          161.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          162.    Mr. Stranahan denies that he has lied about the Plaintiff. Mr. Stranahan lacks

   knowledge or information sufficient to form a belief about the truth of the allegations in this

   paragraph sufficient to either admit or deny them.

          163.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          164.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          165.    Mr. Stranahan understands these allegations to be solely against Jones and

   InfoWars, and therefore, Mr. Stranahan lacks knowledge or information sufficient to form a belief

   about the truth of the allegations in this paragraph sufficient to either admit or deny them.

          166.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          167.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          168.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          169.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          170.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 22 of 37 Pageid#: 2209
          171.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          172.    Mr. Stranahan denies making any false statements about non-party Chobani, LLC.

   To the extent that this paragraph describes the contents of an article, the article speaks for itself

   and Mr. Stranahan denies the Plaintiff’s characterization of it. Mr. Stranahan lacks knowledge or

   information sufficient to form a belief about the truth of the remaining allegations in this paragraph

   sufficient to either admit or deny them.

          173.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          174.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          175.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          176.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          177.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          178.    Mr. Stranahan denies telling any lie about the Plaintiff, denies he has punished the

   Plaintiff, and denies making any false or defamatory statements or implications about the Plaintiff.

   Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 23 of 37 Pageid#: 2210
           179.    To the extent that this paragraph describes the contents of an article, the article

   speaks for itself and Mr. Stranahan denies the Plaintiff’s characterization of it. To the extent that

   the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied. Mr. Stranahan

   lacks knowledge or information sufficient to form a belief about the truth of the remaining

   allegations in this paragraph sufficient to either admit or deny them.

           180.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegation that the Plaintiff “lives in constant, ongoing fear of vile online and in-person

   harassment of himself and his family” sufficient to either admit or deny this allegation. To the

   extent that the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied.

   Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them

           181.    The term “ongoing distress” is unclear because it is uncertain whether the FAC

   refers to distress allegedly caused by Mr. Stranahan or third parties not named as defendants.

   Accordingly, Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of all of the allegations in this paragraph sufficient to either admit or deny them.

           182.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegation that the Plaintiff’s “physical condition makes it difficult and sometimes

   impossible for him to work and conduct regular, daily activities” sufficient to either admit or deny

   this allegation. To the extent that the remaining allegations in this paragraph apply to Mr.

   Stranahan, they are denied. Mr. Stranahan lacks knowledge or information sufficient to form a

   belief about the truth of the remaining allegations in this paragraph sufficient to either admit or

   deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 24 of 37 Pageid#: 2211
          183.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegation that the Plaintiff’s “depressive symptoms, including irritability, difficulty

   concentrating, and loss of sleep, have significantly impaired his ability to perform work

   responsibilities and attend social events” sufficient to either admit or deny this allegation. To the

   extent that the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied.

   Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          184.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegation that the Plaintiff “now limits his social engagements or going out in public,

   as he fears engaging with people who he does not already know and trust, and engages less on

   social media” sufficient to either admit or deny this allegation. To the extent that the remaining

   allegations in this paragraph apply to Mr. Stranahan, they are denied. Mr. Stranahan lacks

   knowledge or information sufficient to form a belief about the truth of the remaining allegations

   in this paragraph sufficient to either admit or deny them.

          185.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegation that “[a]t least one potential romantic partner cut off contact with Mr.

   Gilmore because of Defendants’ statements” sufficient to either admit or deny this allegation. To

   the extent that the remaining allegations in this paragraph apply to Mr. Stranahan, they are denied.

   Mr. Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          186.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.



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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 25 of 37 Pageid#: 2212
          187.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them, except he denies

   making any false statements about the Plaintiff.

          188.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          189.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          190.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          191.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          192.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          193.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          194.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          195.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          196.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 26 of 37 Pageid#: 2213
          197.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          198.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          199.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          200.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          201.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          202.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          203.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          204.    No response is necessary to this paragraph.

          205.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          206.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 27 of 37 Pageid#: 2214
          207.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          208.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          209.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          210.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          211.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          212.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          213.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 28 of 37 Pageid#: 2215
          214.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          215.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          216.    No response is necessary to this paragraph.

          217.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          218.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          219.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          220.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          221.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          222.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          223.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          224.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



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          225.    No response is necessary to this paragraph.

          226.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          227.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          228.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          229.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          230.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          231.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          232.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          233.    No response is necessary to this paragraph.

          234.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          235.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          236.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 30 of 37 Pageid#: 2217
          237.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          238.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          239.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          240.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          241.    No response is necessary to this paragraph.

          242.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          243.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny what the state of mind

   of any third party was. To the extent that the remaining allegations in this paragraph apply to Mr.

   Stranahan, they are denied. Mr. Stranahan lacks knowledge or information sufficient to form a

   belief about the truth of the remaining allegations in this paragraph sufficient to either admit or

   deny them

          244.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.




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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 31 of 37 Pageid#: 2218
          245.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          246.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          247.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          248.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          249.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          250.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          251.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          252.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          253.    Denied.

          254.    Denied.



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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 32 of 37 Pageid#: 2219
          255.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          256.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          257.    To the extent that these allegations apply to Mr. Stranahan, they are denied. Mr.

   Stranahan lacks knowledge or information sufficient to form a belief about the truth of the

   remaining allegations in this paragraph sufficient to either admit or deny them.

          258.    No response is necessary to this paragraph.

          259.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          260.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          261.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          262.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          263.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          264.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          265.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



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Case 3:18-cv-00017-NKM-JCH Document 143 Filed 05/10/19 Page 33 of 37 Pageid#: 2220
          266.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          267.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          268.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          269.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          270.    No response is necessary to this paragraph.

          271.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          272.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          273.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          274.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          275.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          276.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          277.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



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          278.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          279.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          280.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          281.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.

          282.    Mr. Stranahan lacks knowledge or information sufficient to form a belief about the

   truth of the allegations in this paragraph sufficient to either admit or deny them.



          No further responses are necessary because the remainder of the FAC either 1) relate to the

   count for intentional infliction of emotional distress, which was dismissed, or 2) relate to a prayer

   for relief that requires no response.



                                     AFFIRMATIVE DEFENSES

          The statement of any defense contained herein does not assume the burden of proof for any

   issue for which the applicable law places the burden on Plaintiff.

          1.      The FAC fails to state a cause of action upon which relief may be granted.

          2.      The statements at issue are not of and concerning Plaintiff.

          3.      The statements at issue are immune from liability under the fair reporting privilege.

          4.      The statements at issue are not capable of defamatory meaning.

          5.      The statements at issue are not defamatory per se.



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           6.      Plaintiff is a public official, or alternatively a public figure or a limited-purpose

   public figure for purposes of the statements alleged, and Plaintiff cannot establish by clear and

   convincing evidence that the Free Speech Defendants acted with actual malice.

           7.      The statements at issue were about matters of public concern.

           8.      The statements at issue are privileged because the subject matter was of public

   concern and affected a substantial interest of the public.

           9.      The statements at issue constitute opinion or fair comment and are non-actionable.

           10.     Plaintiff as a public figure has assumed the risk of being subject to the statements

   at issue.

           11.     Plaintiff consented to the publications by voluntarily injecting himself into a public

   controversy, through his use of social media, and by making statements on national television.

           12.     Plaintiff has failed to mitigate any damages he has incurred.

           13.     Plaintiff is barred from recovery for damages caused by the acts of others.

           14.     The Complaint fails to state a cause of action for punitive damages.

           15.     An award of punitive damages would violate the First Amendment of the United

   States Constitution.

           16.     Mr. Stranahan is entitled to dismissal and a cost and fee award under Virginia’s

   anti-SLAPP statute, Va. Code § 8.01-223.2.

           17.     This Court lacks subject matter jurisdiction because the parties are not truly diverse

   and there is an insufficient amount in controversy.

           18.     The statements at issue are true or substantially true and do not have any false

   implications.

           19.     The statements at issue are protected opinion.



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          20.     The First Amendment protects the statements that were made, as do comparable

   portions of the Virginia Constitution, e.g. VA CONST. Art. I, §§ 2 and 12.

          21.     Mr. Stranahan is not the legal cause of any damages alleged by the Plaintiff.

          22.     Other parties are responsible for any tortious conduct alleged in this suit.

          23.     Comparative fault of third parties.

          24.     Failure to join a party under Rule 19.

          25.     Wrong party or persons sued.




   Friday, April 26, 2019                         Respectfully submitted,


                                                    s/ Aaron J. Walker
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                                     CERTIFICATE OF SERVICE

           I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
   United States District Court for the Western District of Virginia on May 10, 2019. Participants in
   the case who are registered for electronic filing will be served automatically.



                                                    s/ Aaron J. Walker




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